

Matter of Mahsayah B. (Mesha B.) (2025 NY Slip Op 01514)





Matter of Mahsayah B. (Mesha B.)


2025 NY Slip Op 01514


Decided on March 14, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 14, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., BANNISTER, OGDEN, GREENWOOD, AND HANNAH, JJ.


605 CAF 23-00591

[*1]IN THE MATTER OF MAHSAYAH B.
 ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT;andMESHA B., RESPONDENT-APPELLANT. (APPEAL NO. 3.)






CAITLIN M. CONNELLY, BUFFALO, FOR RESPONDENT-APPELLANT.
BENJAMIN E. MANNION, BUFFALO, FOR PETITIONER-RESPONDENT.
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (RUSSELL E. FOX OF COUNSEL), ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered February 1, 2023, in a proceeding pursuant to Family Court Act article 10. The order, among other things, adjudged that respondent neglected the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Shakema R. v Mesha B. ([appeal No. 1] — AD3d — [Mar. 14, 2025] [4th Dept 2025]).
Entered: March 14, 2025
Ann Dillon Flynn
Clerk of the Court








